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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS


Criminal No. 11-10279-RWZ

                     UNITED STATES OF AMERICA

                                  v.

                       CHRISTOPHER S. GODFREY

                     MEMORANDUM AND ORDER RE:
        DEFENDANT CHRISTOPHER S. GODFREY’S BRADY MOTION
         (DOCKET ENTRY # 99); DEFENDANT CHRISTOPHER S.
           GODFREY’S MOTION FOR A BILL OF PARTICULARS
                      (DOCKET ENTRY # 100)

                            April 5, 2013


BOWLER, U.S.M.J.

     After conducting a hearing on March 12, 2013, this court

took the above styled Brady motion (Docket Entry # 99) and the

motion for a bill of particulars (Docket Entry # 100) filed by

the defendant Christopher S. Godfrey (“the defendant”) under

advisement.

     The Indictment charges the defendant, President of a Florida

company known as Home Owners Protection Economics, Inc. (“HOPE”),

two officers and a telemarketer (“the defendants”) with

conspiracy in violation of 18 U.S.C. § 371, wire fraud in

violation of 18 U.S.C. §§ 1343 and 2 and mail fraud in violation

of 18 U.S.C. §§ 1341 and 2.    The Indictment, which also contains

a criminal forfeiture count, additionally charges the defendant

with misusing a government seal in violation of 18 U.S.C. §§ 1017
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and 2.    The Indictment identifies categories of

misrepresentations that the defendants made or that they

instructed their employees to make:

      to induce financially distressed homeowners looking for a
      federally funded home loan modification to pay HOPE a
      $400-$900 up-front fee in exchange for HOPE’s home loan
      modifications, modification services, and “software
      licenses.” Among these misrepresentations were the claims
      that HOPE would provide essential assistance that the
      homeowner needed to obtain a home loan modification and
      that, with HOPE’s assistance, the homeowner was virtually
      guaranteed to receive the modification. Through these and
      other misrepresentations, HOPE was able to persuade
      thousands of homeowners to pay more than $3 million in fees
      to HOPE.

      In exchange for these up-front fees, HOPE sent its customers
      only a do-it-yourself application package, which was
      virtually identical to the application that the government
      provides free of charge, and instructed the customers to
      fill out the application and submit it to their mortgage
      lender. As the defendants knew, the HOPE customers who did
      use these forms to apply on their own for loan modifications
      had no advantage in the application process, and, in fact,
      most of their applications were denied.

(Docket Entry # 2, ¶¶ 5-6).

I.    THE BRADY MOTION (DOCKET ENTRY # 99)

      The defendant seeks production by the government of evidence

of:    (1) “HOPE clients that received successful loan

modifications; and” (2) “HOPE clients who received refunds.”

(Docket Entry # 99).     The defendant contends that evidence of

successful loan modifications and customer refunds is exculpatory

under Brady v. Maryland, 373 U.S. 83, 87 (1963), Giglio v. United

States, 405 U.S. 150 (1972), and LR. 116.2.         See United States v.

Rosario-Peralta, 175 F.3d 48, 53 (1st Cir. 1999) (evidence is

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exculpatory under Brady if “it ‘is material to guilt or

punishment’”) (quoting Brady, 373 U.S. at 87).

     The government opposes production because the information is

not exculpatory.       It additionally submits that it produced all of

the requested evidence and is under no obligation to review and

identify each document that might be relevant to a potential

defense.     The government also points out that such a review would

be time consuming and impractical.

     Assuming for purposes of argument that the evidence is

exculpatory, this court turns to the government’s production.             In

October 2011, the government states that it made available for

the defendant’s review “53 hard drives and 30 boxes of documents

. . . seized during a search of the HOPE business premises.”

(Docket Entry # 103).       The government thereafter made the hard

drives and the documents available for review in Boston at the

office of the Internal Revenue Service.          Upon request, the case

agent provided the defendant with “logical copies”1 of two of the

defendant’s hard drives, a HOPE employee’s hard drive and four

other hard drives.       Notably, the government produced

approximately 1,400 so called “hot docs.”           (Docket Entry # 103).

These documents consist of documents “the government is most




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        The government explains that, “Logical copies are not
exact forensic duplicates, but they are viewable through standard
software programs like Microsoft Word.” (Docket Entry # 103).

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likely to use as exhibits at trial.”2          (Docket Entry # 103).

Finally, the government represents that it “has not located any

HOPE records summarizing which customers did and which did not

receive loan modifications.”         (Docket Entry # 103).

                                  DISCUSSION

     A prosecutor violates a defendant’s due process rights under

Brady “by failing to disclose material evidence in his possession

that is favorable to the defendant.”           Drumgold v. Callahan, 707

F.3d 28, 38 (1st Cir. 2013).        “Evidence is favorable to a

defendant if it is either exculpatory or impeaching in nature.”

Id. at 38-39.      The disclosure obligations imposed by Brady also

extend to “evidence known only to law enforcement officers and

not to prosecutors.”       Id. at 38; accord Haley v. City of Boston,

657 F.3d 39, 49 (1st Cir. 2011).

     In the case at bar, the government adequately complied with

LR. 116.1(B) and Brady with respect to the above two requests.

It did not hide the requested material in a large scale document

production.      See U.S. v. Skilling, 554 F.3d 529, 577 (5th Cir.

2009) (dicta noting that “government may not hide Brady material

of which it is actually aware in a huge open file in the hope

that the defendant will never find it”), vacated in part on other

grounds, 130 S.Ct. 2896 (2010).         Instead, like the government’s



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        The defendant did not disagree with the accuracy of the
material aspects of these statements by the government.

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production in Skilling, the government provided “hot docs” that

it is most likely to use as trial exhibits.        See Id. (finding no

Brady violation while noting that “government produced a set of

‘hot documents’ that it thought were important to its case or

were potentially relevant to Skilling’s defense”).         Accordingly,

there was no Brady violation.

II.   MOTION FOR BILL OF PARTICULARS (DOCKET ENTRY # 100)

      The defendant maintains that the Indictment does not

specify:   (1) “the alleged misrepresentations made by Godfrey;”

(2) “the specific HOPE customers Godfrey made these

representations to; and” (3) “the specific HOPE

employees that Godfrey instructed to make misrepresentations.”

(Docket Entry # 100).    The government maintains that the 75

paragraph Indictment sufficiently contains the elements of each

offense and the nature of the offenses.       It also enables the

defendant to plead double jeopardy, according to the government.

(Docket Entry # 104).

                               DISCUSSION

      A motion for a bill of particulars, which is “seldom

employed in modern practice,” is allowed “only if the accused, in

the absence of a more detailed specification, will be disabled

from preparing a defense, caught by unfair surprise at trial, or

hampered in seeking the shelter of the Double Jeopardy Clause.”

United States v. Sepulveda, 15 F.3d 1161, 1192-1193 (1st Cir.


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1993); accord United States v. Abreu, 952 F.2d 1458, 1469 (1st

Cir. 1992) (function of bill “is to provide the defendant with

the necessary details of the charges against him to enable him to

prepare his defense, to avoid surprise against trial, and to

protect against double jeopardy”); United States v. Leach, 427

F.2d 1107, 1110 (1st Cir. 1970); see also Wong Tai v. United

States, 273 U.S. 77 (1927).     A bill should only be granted when

the indictment is so vague that it does not comply with these

purposes.    United States v. Bloom, 78 F.R.D. 591, 599 (E.D.Pa.

1977); see United States v. Andrus, 775 F.2d 825, 843 (7th Cir.

1985).    Moreover, an indictment is ordinarily sufficiently

detailed “‘if it elucidates the elements of the crime, enlightens

a defendant as to the nature of the charge against which [the

defendant] must defend, and enables [the defendant] to plead

double jeopardy in bar of future prosecutions for the same

offense.’”    United States v. Poulin, 588 F.Supp.2d 64, 66 (D.Me.

2008) (quoting United States v. Sepulveda, 15 F.3d at 1192).

     The decision to grant or deny a request rests with the sound

discretion of the trial court.      United States v. Abreu, 952 F.2d

at 1469    (“grant or denial of a motion for a bill of particulars

lies within the sound discretion of the trial judge”); accord

United States v. Paiva, 892 F.2d 148, 154 (1st Cir. 1989).             A

defendant is not entitled to recover evidentiary matters by

filing a motion for a bill of particulars.        See United States v.


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Johnson, 504 F.2d 622, 628 (7th Cir. 1974); Overton v. United

States, 403 F.2d 444 (5th Cir. 1986); Hemphill v. United States,

392 F.2d 45 (8th Cir. 1968); United States v. Sandler, 462 F.2d

122 (6th Cir. 1972); United States v. Wolfson, 413 F.2d 804, 808

(2nd Cir. 1969) (identity of persons present at time of offense).

      The government accurately summarizes the substance of the

charges in the Indictment, including the manner and means and the

overt acts regarding the conspiracy, and the facts in the

Indictment that support the charges.       (Docket Entry # 104, pp. 4-

5).   The Indictment as a whole therefore provides sufficient

detail.   “[I]t elucidates the elements of the crime[s],

enlightens” the defendant about “the nature of the charge[s]

against” him and it enables him “to plead double jeopardy in bar

of future prosecutions for the same offense[s].”         United States

v. Sepulveda, 15 F.3d at 1192.      Furthermore, contrary to the

defendant’s position, the government provided discovery in a

searchable format.    In short, the defendant fails to adequately

demonstrate that his own investigation based on the evidence

available to him would not be sufficient to prepare an adequate

defense, see United States v. Belardo-Quinones, 71 F.3d 941, 943-

944 (1st Cir. 1995) (upholding denial of bill of particulars

while noting that indictment contained enough information for the

defendant to prepare a defense and the record showed no attempts

by the defendant to obtain the requested information


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independently), or to protect him from prejudicial surprise at

trial.   A bill of particulars identifying in greater detail the

misrepresentations by Godfrey, the HOPE customers to whom Godfrey

made the misrepresentations and the HOPE employees Godfrey

instructed to make misrepresentations is not required.

                             CONCLUSION

     In accordance with the foregoing discussion, the Brady

motion (Docket Entry # 99) and the motion for a bill of

particulars (Docket Entry # 100) are DENIED.



                         /s/ Marianne B. Bowler
                       MARIANNE B. BOWLER
                       United States Magistrate Judge




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